      Case 3:08-cr-00115-DCB-JCS          Document 47        Filed 08/23/16     Page 1 of 1
                 IN THE UNITED STATES DISTRICT COURT FOR THE
                       SOUTHERN DISTRICT OF MISSISSIPPI
                              NORTHERN DIVISION

UNITED STATES OF AMERICA                                                           Plaintiff

V.                                                        Court No. 3:08-CR-115-DCB-JCS-1

Arlesia Chantaye Brinson                                                           Defendant

And

Xerox Commercial Solutions, LLC                                                    Garnishee


                              ORDER QUASHING GARNISHMENT

         This cause came on for consideration on a motion [#46] of the United States Attorney

 to quash the Writ of Garnishment issued in this action on the grounds that the Defendant is no

 longer employed by Garnishee.

         IT IS, THEREFORE, ORDERED AND ADJUDGED, that the Writ of Garnishment

 issued in this action on June14, 2016, [#44] be and it is hereby quashed, and the garnishee,

 Xerox Commercial Solutions, LLC, is hereby dismissed.

         ORDERED AND ADJUDGED this 23rd day of August , 2016.

                                             s/David Bramlette
                                             HONORABLE DAVID BRAMLETTTE, III
                                             SR. UNITED STATES DISTRICT JUDGE
